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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 GLENCORE FINANCE (BERMUDA)
 LTD.,

                Plaintiff,
                                               Case No. 23-cv-03031-CRC
 v.

 PLURINATIONAL STATE OF BOLIVIA,

                Defendants.

 IAREPORTER, LLC,

               Proposed Intervenor.


                         MOTION TO INTERVENE AND UNSEAL

       Pursuant to Rule 24(b) of the Federal Rules of Civil Procedure and Local Civil Rule 7(j),

proposed intervenor IAReporter, LLC, by and through its undersigned counsel, hereby moves to

intervene in this matter for the limited purpose of seeking access, under the First Amendment

and common law, to the arbitration award that Petitioner Glencore Finance (Bermuda) Ltd.,

seeks to enforce and has been filed under seal (ECF No. 1-2). In support of this motion,

IAReporter relies on the accompanying Memorandum of Points and Authorities. As

demonstrated in that Memorandum, the IAReporter’s limited intervention in this matter is

proper, and the Court should release the judicial record under both the First Amendment and

common law rights of access.




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Dated: October 23, 2023    Respectfully submitted,

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